           Case 2:17-cv-00642-MJP Document 39 Filed 09/08/17 Page 1 of 7




 1                                                              The Honorable Marsha J. Pechman
 2

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 6
                            UNITED STATES DISTRICT COURT
 7               FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8   JULIE DALESSIO, an individual,
                                                          No. 2:17-cv-00642-RSM
 9                                     Plaintiff,
10                                                        DEFENDANT’S RESPONSE TO
            v.                                            PLAINTIFF’S MOTION TO SEAL
11   UNIVERSITY OF WASHINGTON,
12                                  Defendant.
13

14                                    I.       INTRODUCTION
            Defendant does not oppose the Court sealing the documents listed in subsections A,
15
     B, D, or E of the “Relief Requested” on pages 6 and 7 of Dkt. 36. However, Defendant
16
     does not agree there is a basis under the Court rules to do so, and therefore cannot stipulate
17
     to the documents being sealed. Subsections C and F of those same pages are not proper
18
     requests in a motion to seal and are not supported by any authority. Defendant would be
19
     willing to file the “original” of the response to PR 15-00570 (with the PRA redactions made
20
     by Ms. Swenson but no further redactions) under seal if the Court decided to allow it;
21
     however, it is only within the authority of the court, not the parties, to make such a
22
     determination. Defendant submitted the current version of PR 15-00570 (this was Dkt. 30-
23
     1 and 30-2 but is now Dkts. 32-34) with additional redactions pursuant to WDLCR 5.2 and
24
     the Court’s order (by email.) Subsection F requests relief far beyond the scope of a motion
25
     to seal, and Plaintiff provides no authority permitting such relief.
26

27
     DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION
     TO SEAL - 1                                              KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     2:17-cv-00642-RSM                                                        ATTORNEYS AT LAW
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            Case 2:17-cv-00642-MJP Document 39 Filed 09/08/17 Page 2 of 7



                                   II.   STATEMENT OF FACTS
 1
             A full recitation of the statement of facts is not necessary in response to this motion
 2
     to seal, and a detailed statement of facts is included in Defendant’s Motion for Summary
 3
     Judgment (Dkt. 27) if the Court wishes to have some background. However, it is necessary
 4
     to correct Plaintiff’s statement of facts in certain places to maintain a proper record and
 5
     address the portions of Plaintiff’s statement of facts that actually contain argument:
 6
        •    On pages 2:13-3:4, Plaintiff asserts the parties “discussed the necessity to submit
 7
             confidential documents as exhibits in this lawsuit.” This conference was prior to
 8
             discovery, and to Defendant’s knowledge, Plaintiff has never “designated” any
 9
             specific documents as “confidential” through any kind of official tag or designation.
10
             Chen Decl., at ¶ 2.
11
        •    On page 3:4-6, Plaintiff asserted “the UW stated their willingness to request that
12
             Dkt. 30-1 and 30-2 be filed under seal, and Plaintiff concurred. (Decl. Plaintiff, Exh.
13
             2).   However, before meeting to discuss the issue, the UW again filed these
14
             documents as Dkts. 32, 33, and 34.” Plaintiff omits the Court’s email order that was
15
             sent to all parties between the day when Defendant offered to suggest sealing as an
16
             option, and the day when Dkts. 32-34 were filed. The Court specifically ordered
17
             Defendant to “re-file a new redacted copy [of Dkts 30-1 and 30-2] publicly.” (Some
18
             emphasis added, some in original.) Exh. A to Chen Decl., at p. 1. The Court then
19
             ordered Plaintiff to submit a motion to seal to the Court “specifically identifying
20
             where the objectionable information is contained, by docket, exhibit and page
21
             numbers, and the legal basis for your motion, and the Court will address the matter
22
             accordingly.” Id.
23
        •    On page 3:17-19, Plaintiff asserts that “defendant has since redacted some of their
24
             court submissions, replacing Dkt.30-2 [sic] with Dkts 32, 33, 34, obscuring
25
             evidence of the breach.” Again, this was done pursuant to the Court’s order, and the
26
             only items redacted were pursuant to WDLCR 5.2.
27
     DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION
     TO SEAL - 2                                              KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     2:17-cv-00642-RSM                                                        ATTORNEYS AT LAW
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 1       •    On page 5:10-14, Plaintiff asserts (repeatedly throughout the document) that

 2            Defendant should admit Plaintiff’s two to three word descriptions of what are in

 3            some cases pages of documents, as if this would somehow be an acceptable

 4            substitute to the actual document. This would be wholly insufficient for the Court’s

 5            review, and Defendant has previously objected to such “descriptions[.]”

 6       •    On page 5, in footnote 3, Plaintiff “suggests” the “UW has intentionally chosen not

 7            to attach PR 16-00760 as an exhibit so as to avoid a direct comparison.” (Emphasis

 8            added.) Defendant has asserted from the beginning that documents were provided

 9            to Plaintiff in PR 16-00760 because it was a request from an employee seeking her

10            own personnel and other records—regardless of what is contained in them.

11            Defendant has not included them because they are irrelevant to its motion for

12            summary judgment.

13                                  III.    EVIDENCE RELIED UPON
14       1. Declaration of Derek Chen and attached exhibit.

15                              IV.        ARGUMENT AND AUTHORITY
16            A.      No Objection to Specific Documents Plaintiff Has Requested Sealed.
17            Defendant does not object to the Court sealing Dkts. 30-1, 30-2, 32, 33, 34, PR 16-

18   00760 (if Plaintiff files it attached to her summary judgment response brief) 1, and

19   “Plaintiff’s copy of the letter dated July 12, 2002[,]” attached as Exh. 4 to Plaintiff’s Decl.

20   However, Defendant does not agree there is a legal basis for sealing or further redaction for

21   the documents already submitted, and disputes Plaintiff’s characterization of the nature of

22   the documents.

23            Despite the Court’s order, Plaintiff has failed to identify any applicable authority.

24   Instead, Plaintiff has cited pages of law purportedly regarding the Washington Public

25   1
       Plaintiff asserts she filed a physical copy of this, and the Court record reflects that it received a CD.
26   (Dkt. 38.) However, Plaintiff never served Defendant with a copy, and therefore Defendant cannot determine
     whether this is actually PR 16-00760. Therefore, Defendant does not object to Plaintiff’s request to have
     PR 16-00760 filed, but would object to Dkt. 38 and its contents being sealed on the basis that it cannot
27
     confirm what is on the CD.
     DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION
     TO SEAL - 3                                                     KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     2:17-cv-00642-RSM                                                             ATTORNEYS AT LAW
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 1   Records Act, which has no applicability as to redaction or sealing of federal court filings.

 2   WDLCR 5.2(a) states:

 3          Parties shall refrain from including, or shall partially redact where inclusion
            is necessary, the following personal data identifiers from all documents filed
 4
            with the court or used as exhibits in any hearing or at trial, unless otherwise
 5          ordered by the court:

 6          (1) Dates of Birth - redact to the year of birth
            (2) Names of Minor Children - redact to the initials
 7          (3) Social Security Numbers and Taxpayer-Identification Numbers- redact in
            their entirety
 8
            (4) Financial Accounting Information - redact to the last four digits
 9          (5) Passport Numbers and Driver License Numbers - redact in their entirety

10          Defendant repeatedly sought out Plaintiff’s assistance from Plaintiff in ensuring that

11   all of the items listed above were removed from Dkts. 32-34 before they were filed. See

12   Exhs. 2 and 3 to Plaintiff’s Decl. To Defendant’s knowledge, Dkts. 32-34 comply with

13   these rules, and Defendant is unaware of any other applicable basis to seal the records

14   without a court order. Therefore, Defendant was unable to stipulate that these documents

15   should be sealed in their entirety, but do not object to them being sealed.

16          B.     Plaintiff’s Request to Have Defendant Produce PR 15-00570 “in its
            original format[.]”
17
            Defendant does not object to this request as long as it has a court order instructing it
18
     to do so. PR 15-00570 contains original redactions made by Alison Swenson, a compliance
19
     analyst for the University of Washington, when the documents were produced in response
20
     to a public records request. See Dkts. 32-34; Chen Decl., at ¶ 3. Redactions by Ms.
21
     Swenson are in grey. Id. Counsel for Defendant then made additional redactions in black of
22
     items subject to WDLCR 5.2(a). Id. Where it may not be obvious, the black boxes contain
23
     text with a brief description about what is underneath the redaction. Id. Plaintiff’s repeated
24
     assertions that this was done to “cover something up” are unwarranted, as she knows (or
25
     should know) that these were done to comply with the court rules.
26

27
     DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION
     TO SEAL - 4                                              KEATING, BUCKLIN & MCCORMACK, INC., P.S.
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                C.     Plaintiff’s Request to Compel the University to Sequester Documents.
 1
                Plaintiff has also requested “(F) That Defendant UW immediately sequester all
 2
     Public Records releases pertaining to Plaintiff, and locate and sequester all original
 3
     documents and copies of documents pertaining to Plaintiff.” Dkt. 36, at p. 7:4-6. Plaintiff
 4
     does not define what she means by “sequester.” These documents are part of the public
 5
     record and must be produced as such if requested. Additionally, Plaintiff has cited no case
 6
     law or authority that would permit the court to grant this relief, especially in the face of the
 7
     Washington Public Records Act, RCW 42.56. Defendant requests the Court deny this
 8
     relief.
 9
                D.     Plaintiff’s “Authority, Argument and Analysis” Solely Addresses the
10              Merits of Her Claims and Improperly Argues Her Summary Judgment
                Position.
11
                Nothing in Plaintiff’s argument section addresses or provides authority for her
12
     motion to seal. Rather, it improperly makes the same arguments regarding the Public
13
     Records Act that she will reiterate in her response to Defendant’s motion for summary
14
     judgment.       Whether intentional or on accident, these should be struck.                   Plaintiff is
15
     attempting to obtain some sort of ruling from the court on the issue of “sealing” records—
16
     based on an incomplete record and inapplicable legal authority—in an attempt to import it
17
     into her arguments on summary judgment. The authority cited is entirely irrelevant to the
18
     request to seal documents.
19
                                         V.      CONCLUSION
20
                Defendant does not object to the Court sealing Dkts. 30-1, 30-2, 32, 33, 34, PR 16-
21
     00760 if the court wishes to allow it, and “Plaintiff’s copy of the letter dated July 12,
22
     2002[,]” attached as Exh. 4 to Plaintiff’s Decl. In addition, with a Court order allowing it,
23
     Defendant will submit a copy of PR 15-00570 with only Ms. Swenson’s redactions under
24
     seal. However, Defendant does object to all other relief sought, and believes the Court
25
     should exclude or ignore Plaintiff’s “argument” section as it improperly injects her
26
     summary judgment position into two pleadings.
27
     DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION
     TO SEAL - 5                                              KEATING, BUCKLIN & MCCORMACK, INC., P.S.
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          Case 2:17-cv-00642-MJP Document 39 Filed 09/08/17 Page 6 of 7




 1
           DATED: September 8, 2017
 2
                                      KEATING, BUCKLIN & McCORMACK, INC., P.S.
 3

 4
                                      By: /s/ Jayne L. Freeman
 5
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     DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION
     TO SEAL - 6                                       KEATING, BUCKLIN & MCCORMACK, INC., P.S.
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           Case 2:17-cv-00642-MJP Document 39 Filed 09/08/17 Page 7 of 7




 1                                CERTIFICATE OF SERVICE
 2          I hereby certify that on September 8, 2017, I electronically filed the foregoing with

 3   the Clerk of the Court using the CM/ECF system which will send notification of such filing

 4   to the following:

 5
            Attorneys for Pro-Se Plaintiff
 6
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 7
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 8          Seattle, WA 98122
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 9          Email: juliedalessio@msn.com
10
     DATED: September 8, 2017
11

12
                                                 /s/ Jayne L. Freeman
13                                               Jayne L. Freeman, WSBA #24318
                                                 Special Assistant Attorney General for
14
                                                 Defendant
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     DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION
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